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                                           April 18, 2025


VIA ELECTRONIC FILING

Hon. Glenn T. Suddaby, U.S. District Judge
Federal Building and U.S. Courthouse
P.O. Box 7367
Syracuse, NY 13261-7367

               RE:     Sposato v. Matthew W. Ryan
                       Civil Case No. 5:23-cv-364 (GTS-MJK)
                       Our File Z04012

Dear Judge Suddaby:

        Please accept this letter in opposition to pro se plaintiff Richard Sposato’s motion to recuse
this Court. This is the plaintiff’s third recusal motion in this action. The plaintiff’s motion is
utterly lacking in merit, and should be denied just like his prior two recusal motions were. See
Doc. Nos. 10, 19, 54.

       I thank the Court for its courtesies and attention to this matter.

                                                      Respectfully,


                                                      Paul V. Mullin, Esq.
                                                      315-362-8932
                                                      pmullin@sugarmanlaw.com
PVM/lrg
cc:   (via regular mail)

       Richard Sposato
       c/o 510 N. Orchard Road
       Solvay, NY 13209




                                                                            SERVICE BY FAX NOT ACCEPTED
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


RICHARD SPOSATO,

                                               Plaintiff,      CERTIFICATE OF SERVICE
              vs.
                                                               Case No:         5:23-cv-364
MATTHEW W. RYAN, individually and in his                                        (GTS/MJK)
official capacity

                                               Defendant.


       I hereby certify that on April 18, 2025, I electronically filed correspondence to the Hon.

Glenn T. Suddaby, dated April 18, 2025, with the Clerk of the District Court using the CM/ECF

system;

       And, I hereby certify that I have mailed by the United States Postal Service the

document to the following non-CM/ECF Participant:

                                       Richard Sposato
                                       c/o 510 N. Orchard Road
                                       Solvay, NY 13209



                                               s/Paul V. Mullin
                                               Paul V. Mullin, Esq.
                                               Bar Roll No.: 501346
                                               United States District Court
                                               Northern District of New York




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